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Attorneys for Defendant Save On SP, LLC

             UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY


 JOHNSON & JOHNSON                                   Civil Action No. 22-2632 (ES)(CLW)
 HEALTH CARE SYSTEMS INC.,
                                                         Document Electronically Filed
                   Plaintiff,
        v.                                              Return Date: August 19, 2024

 SAVE ON SP, LLC,                                     NOTICE OF MOTION TO SEAL

                       Defendant.


        PLEASE TAKE NOTICE on August 19, 2024, or a date and time to be set by the Court,

 Defendant Save On SP, LLC (“SaveOnSP”), by and through its attorneys Robinson & Cole,

 LLP and Selendy Gay, PLLC, shall move for the entry of an order, pursuant to Local Civil Rules

 5.3(c) and 7.1, permanently sealing portions of the Johnson and Johnson Health Care Systems,
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 Inc.’s (“JJHCS”) June 20, 2024 Motion for In Camera Review and Exhibits [ECF No. 322],

 SaveOnSP’s Opposition and Exhibits [ECF No. 325], and JJHCS’s Reply [ECF No. 333].

     This Motion is timely pursuant to Local Rule 5.3(c)(2). All parties consent to the relief

sought in this motion. Pursuant to Local Civil Rule 7.1(d)(4), no legal brief is required because

all relevant proposed findings of fact and conclusions of law required by Local Civil Rule

5.3(c)(3) have been set forth in the Declaration of E. Evans Wohlforth, Jr., Esq. submitted

herewith.

         PLEASE TAKE FURTHER NOTICE that, in support of the within motion,

  Defendant shall rely upon the Declaration of E. Evans Wohlforth, Jr., Esq., and upon the

  pleadings and all prior proceedings in the above-captioned action.

         PLEASE TAKE FURTHER NOTICE that a copy of the proposed Findings of Fact

  and Conclusions of Law and Order Granting the Motion to Seal is submitted with this Notice.

         PLEASE TAKE FURTHER NOTICE that a certificate attesting to the date and

  manner of service of these moving papers is submitted herewith.

  Dated: July 22, 2024

                                             By: s/ E. Evans Wohlforth, Jr.
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